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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF DELAWARE


 NORTHROP GRUMMAN SHIP
 SYSTEMS, INC.,

                Plaintiff.,                               C.A. No. 1:20-mc-00257-LPS

    v.

 THE MINISTRY OF DEFENSE OF THE
 REPUBLIC OF VENEZUELA,

                Defendant.


                      DECLARATION OF ALEXANDER A. YANOS
                  IN SUPPORT OF PLAINTIFF’S AMENDED MOTION
              FOR A WRIT OF ATTACHMENT FIERI FACIAS REPLY BRIEF

         Pursuant to 28 U.S.C § 1746, I, Alexander A. Yanos, declare as follows:

         1.     I am an attorney at Alston & Bird, LLP and counsel for Petitioner Huntington

Ingalls Incorporated (“Plaintiff” or “Huntington Ingalls”) in the above-captioned matter.

         2.     I submit this declaration in support of Plaintiff’s Amended Motion for an order

authorizing the Clerk of the Court to issue a writ of attachment fieri facias (“Motion”).

         3.     Attached hereto as “Exhibit 1” is a true and accurate copy of “Presentación de

resultados 2019 – 2020, Junta Administradora Ad Hoc De PDVSA,” available at

https://link.edgepilot.com/s/a25f3bb9/HhhG6zWll0qp_ytLIAIqLw?u=https://pdvsa -

adhoc.com/Presentacion_2020_PDVSA_ad_hoc.pdf (last visited April 16, 2021).

         4.     Attached hereto as “Exhibit 2” is certified copy of Exhibit 1 translated in English:

“Presentation of results 2019 – 2020, PDVSA Ad Hoc Board of Directors”.

         5.     Attached hereto as “Exhibit 3” is a true and accurate copy of “Louis Pacheco: ‘Si

No Hubiésemos Demandado Los Bonistas Habrían Hecho Una Fiesta Y Tomado Citgo,”



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EMBAJADA DE        LA      REPUBLICA   BOLIVARIANA DE VENEZUELA ,           (Nov.   17,   2020),

https://us.embajadavenezuela.org/noticias/luis-pacheco-si-no-hubiesemos-demandado-los-

bonistas-habrian-hecho-una-fiesta-y-tomado-citgo/.

       6.       Attached hereto as “Exhibit 4” is a true and accurate certified copy of Exhibit 3

translated in English: “Louis Pacheco ‘If We Had Not Sued, The Bondholders Would Have Had

A Party And Taken Citgo,” EMBASSY OF BOLIVARIAN REPUBLIC OF VENEZUELA (Nov. 17, 2020).

       7.      Attached hereto as “Exhibit 5” is a true and accurate copy of “Venezuela’s

PDVSA, in default, says total debt remained unchanged in 2019 ,” REUTERS (Jan. 27, 2020),

https://www.reuters.com/article/us-pdvsa-debt/venezuelas-pdvsa-in-default-says-total-debt-

remained-unchanged-in-2019-idUSKBN1ZQ1UM.

       8.      Attached hereto as “Exhibit 6” is a true and accurate copy of a collection of

webpages taken from the “Venezuela Oil & Gas” website, https://www.venezuelaoilgas.com (last

visited April 16, 2021).

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 Dated: April 16, 2021                        Respectfully submitted,
        New York, New York



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